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                                 UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION


    In re:                                                     Case No. 18-34658

    Houtex Builders, LLC, et al.1                              Chapter 11

              Debtors.                                         Jointly Administered


                                 DEBTORS’ WITNESS AND EXHIBIT LIST


    Judge:                            Hon. Jeffrey P. Norman
    Hearing Date:                     Thursday, October 29, 2020
    Hearing Time:                     9:30 a.m. (CT)
    Parties’ Names:                   HouTex Builders, LLC; 2203 Looscan Lane, LLC;
                                      and 415 Shadywood, LLC
    Attorneys’ Names:                 Charles M. Rubio
    Attorneys’ Telephone:             (212) 763-3331
    Nature of Proceeding:             Hearing on: Debtors’ Expedited Motion To Compel CD Homes
                                      LLCs Responses To Discovery And Request For Sanctions
                                      [ECF 564]

             Parkins Lee & Rubio LLP (“Parkins Lee & Rubio”), counsel to HouTex Builders, LLC;

2203 Looscan Lane, LLC; and 415 Shadywood, LLC (collectively, the “Debtors”), hereby submits

this Witness and Exhibit List in connection with the hearing to be held on Thursday, October 29,

2020 at 9:30 a.m. (Central Time) (the “Hearing”) on the Expedited Motion To Compel CD Homes

LLCs Responses To Discovery And Request For Sanctions [ECF 564].




1
             The names of the Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
             tax identification number, are: HouTex Builders, LLC (2111); 2203 Looscan Lane, LLC (1418); and 415
             Shadywood, LLC (7627).
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                                          WITNESSES

        Parkins Lee & Rubio may call any of the following witnesses at the Hearing, whether in

 person or by proffer:

        1. Charles Foster;

        2. Robert Parker;

        3. Anna Williams;

        4. Jim D. Nored;

        5. Linda Schmuck (expert);

        6. Liz Markell (expert);

        7. Ruthie Porterfield (expert);

        8. Any witnesses called or designated by any other party; and

        9. Any witnesses necessary to rebut the testimony of any witnesses called or designated
           by any other parties.


                                          EXHIBITS

        Parkins Lee & Rubio may offer for admission into evidence any of the following exhibits

 at the Hearing:


                                                                         Admitted/
Ex.                  Description                   Offered   Objection     Not         Disposition
                                                                         Admitted

  1.   Contractor Agreement between CD
       Homes, LLC and 2203 Looscan Lane,
       LLC dated August 29, 2014

  2.   Contractor Agreement between CD
       Homes, LLC and 415 Shadywood LLC
       dated October 24, 2014




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                                                                            Admitted/
Ex.                  Description                      Offered   Objection     Not       Disposition
                                                                            Admitted

  3.   Investor Agreement between CD Homes,
       LLC and HouTex Builders, LLC dated
       July 2, 2014 (3 Thornblade)

  4.   Contractor Agreement between CD
       Homes, LLC and HouTex Builders, LLC
       dated May 16, 2013 (5325 Lynbrook)

  5.   Proof of Claim No. 6 filed by Great
       Southwestern Financial Corp. in Case
       No. 18-34658 against HouTex Builders,
       LLC

  6.   Proof of Claim No. 15 filed by Spirit of
       Texas Bank in Case No. 18-34658
       against HouTex Builders, LLC

  7.   Sources and Uses of Funds

  8.   Transcript of March 20, 2019 Deposition
       of Bob Parker

  9.   Transcript of May 14, 2019 Deposition
       of Bob Parker

  10. Transcript of June 14, 2019 Deposition
      of Bob Parker

  11. Transcript of February 1, 2019
      Deposition of Jim Nored

  12. Transcript of September 26, 2018
      Hearing in Case No. 18-34658, In re
      HouTex Builders, LLC, et al.

  13. Transcript of November 19, 2018
      Hearing in Case No. 18-34658, In re
      HouTex Builders, LLC, et al.


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                                                                          Admitted/
Ex.                 Description                     Offered   Objection     Not       Disposition
                                                                          Admitted

  14. Transcript of December 5, 2018 Hearing
      in Case No. 18-34658, In re HouTex
      Builders, LLC, et al.

  15. Transcript of December 10, 2018
      Hearing in Case No. 18-34658, In re
      HouTex Builders, LLC, et al.

  16. Transcript of December 17, 2018
      Hearing in Case No. 18-34658, In re
      HouTex Builders, LLC, et al.

  17. Transcript of March 25, 2019 Hearing in
      Case No. 18-34658, In re HouTex
      Builders, LLC, et al.

  18. Transcript of March 27, 2019 Hearing in
      Case No. 18-34658, In re HouTex
      Builders, LLC, et al.

  19. Looscan Closing Statement

  20. Shadywood Closing Statement

  21. Thronblade Closing Statement

  22. West Alabama Sale

  23. Trustmark Bank Register September 25,
      2012 through June 30, 2013

  24. Trustmark Bank Register July 1, 2013
      through August 23, 2018

  25. CommunityBank of Texas Register
      September 25, 2012 through June 30,
      2014



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                                                                         Admitted/
Ex.                 Description                    Offered   Objection     Not       Disposition
                                                                         Admitted

  26. CommunityBank of Texas Register July
      1, 2014 through December 31, 2014

  27. CommunityBank of Texas Register
      January 1, 2015 through June 30, 2015

  28. CommunityBank of Texas Register July
      1, 2015 through December 31, 2015

  29. CommunityBank of Texas Register
      January 1, 2016 through June 30, 2016

  30. CommunityBank of Texas Register July
      1, 2016 through December 31, 2016

  31. CommunityBank of Texas Register
      January 1, 2017 through June 30, 2017

  32. CommunityBank of Texas Register July
      1, 2017 through December 31, 2017

  33. CommunityBank of Texas Register
      January 1, 2018 through August 23,
      2018

  34. Order Granting Motion to Compel [ECF
      No. 246]

  35. Order Granting Sanction Against Robert
      Parker [ECF No. 314]

  36. Great Southwest - Deed of Trust 3
      Thornblade $126k

  37. 3 Thornblade - Deed of Trust $223k

  38. Nored Lien - Deed of Trust 3
      Thornblade $244k

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                                                                          Admitted/
Ex.                 Description                     Offered   Objection     Not       Disposition
                                                                          Admitted

  39. Nored Lien - Deed of Trust 3
      Thornblade $118k

  40. Hmaidan & Hmaidan Second Deed of
      Trust Dated 6/1/2017. Recorded
      6/8/2018.

  41. Pensco Trust - 415 Shadwood May 10,
      2018

  42. Cedar Creek Deed of Trust

  43. Nored - Deed of Trust Lynbrook $339k

  44. Nored - Deed of Trust Lynbrook $90k

  45. Summary of Members Draw for
      Trustmark Bank and Community Bank
      of Texas

  46. Service on Anna Williams

  47. Service on Jim Nored

  48. Service on Robert Parker

  49. Request for Production to Robert Parker

  50. Premarital Agreement of Robert Parker
      and Anna Williams

  51. Anna Williams Declaration

  52. Robert Parker Declaration




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                                                                        Admitted/
Ex.                 Description                   Offered   Objection     Not       Disposition
                                                                        Admitted

  53. Anna Williams's and CD Homes, LLC's
      Response to NMRO Holdings LLC's
      Motion to Reconsider or for New Trial

  54. Exhibit A - Affidavit of John H.
      McFarland to Motion to Reconsider

  55. Exhibit B - Declaration of Anna
      Williams to Motion to Reconsider

  56. Transcript of December 10, 2015
      Deposition of Anna Williams

  57. Errata Sheet to Deposition of Anna
      Williams December 10, 2015

  58. Proof of Claim No. 9 filed by Anna
      Williams in Case No. 18-34658 against
      HouTex Builders, LLC

  59. Proof of Claim No. 10 filed by 1040
      Hyde Park LLC in Case No. 18-34658
      against HouTex Builders, LLC
  60. Proof of Claim No. 11 filed by 1040
      Hyde Park LLC in Case No. 18-34658
      against HouTex Builders, LLC
  61. Proof of Claim No. 12 filed by CD
      Homes, LLC in Case No. 18-34658
      against HouTex Builders, LLC
  62. Proof of Claim No. 13 filed by CD
      Homes, LLC in Case No. 18-34658
      against HouTex Builders, LLC

  63. Proof of Claim No. 16 filed by CD
      Homes, LLC in Case No. 18-34658
      against HouTex Builders, LLC



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                                                                          Admitted/
Ex.                 Description                     Offered   Objection     Not       Disposition
                                                                          Admitted

  64. Proof of Claim No. 3 filed by Anna
      Williams in Case No. 18-34659 against
      415 Shadywood, LLC

  65. Proof of Claim No. 4 filed by CD
      Homes, LLC in Case No. 18-34659
      against 415 Shadywood, LLC

  66. Proof of Claim No. 5 filed by CD
      Homes, LLC in Case No. 18-34659
      against 415 Shadywood, LLC

  67. Proof of Claim No. 6 filed by CD
      Homes, LLC in Case No. 18-34659
      against 415 Shadywood, LLC

  68. Proof of Claim No. 7 filed by CD
      Homes, LLC in Case No. 18-34659
      against 415 Shadywood, LLC

  69. Proof of Claim No. 8 filed by 1040 Hyde
      Park, LLC in Case No. 18-34659 against
      415 Shadyood, LLC

  70. Proof of Claim No. 9 filed by 1040 Hyde
      Park, LLC in Case No. 18-34659 against
      415 Shadyood, LLC

  71. Proof of Claim No. 3 filed by CD
      Homes, LLC in Case No. 18-34660
      against 2203 Looscan Lane, LLC

  72. Proof of Claim No. 4 filed by CD
      Homes, LLC in Case No. 18-34660
      against 2203 Looscan Lane, LLC

  73. Proof of Claim No. 5 filed by Anna
      Williams in Case No. 18-34660 against
      2203 Looscan Lane, LLC

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                                                                           Admitted/
Ex.                 Description                      Offered   Objection     Not       Disposition
                                                                           Admitted

  74. Hmaidan Second Deed of Trust dated
      and recorded 3/16/17

  75. Transcript of March 28, 2020 Hearing in
      Case No. 18-34658, In re HouTex
      Builders, LLC, et al.

  76. Transcript July 16, 2019 Hearing in Case
      No. 19-32825, In re HL Builders, LLC.

  77. Transcript of August 15, 2019 Hearing
      in Case No. 19-32825, In re HL
      Builders, LLC.

  78. Transcript of August 20, 2020 Hearing
      in Case No. 19-32825, In re HL
      Builders, LLC.

  79. Real Estate Secured Balloon Promissory
      Note

  80. Project Recap - 3054 Locke Lane

  81. Robert Parker’s Responses and
      Objections to Debtor’s Request for
      Production

  82. Robert Parker’s Form 2017 Income Tax
      Return

  83. Trustmark National Bank Statements
      5/17/2018 - 7/18/2018

  84. Alternative Outcomes 6111 Crab
      Orchard

  85. Project Recap 3019 Ella Lee Lane



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                                                                       Admitted/
Ex.                  Description                 Offered   Objection     Not       Disposition
                                                                       Admitted

  86. Hmaidan & Hmaidan Third Deed of
      Trust - dated 5/9/17, recorded 5/10/17.

  87. Hampton Lane Builders Deed of Trust -
      $216k.

  88. CD Homes Account Register

  89. Lynbrook Closing Statement

  90. Emails introduced by CD Homes at
      5/29/20 Trial

  91. Final Profit Calculation - 4519 Alabama

  92. Emails between Foster and Parker

  93. Amended Claim #10 [ECF No. 10-2]
      filed by 1040 Hyde Park LLC, Amount
      claimed: $606346.00

  94. Amended Claim #11 [ECF No. 11-2]
      filed by 1040 Hyde Park LLC, Amount
      claimed: $140480.00

  95. Amended Claim #16 [ECF No. 16-3]
      filed by CD Homes, LLC, Amount
      claimed: $1723653.00

  96. Amended Claim #8 [ECF No. 8-3] filed
      by 1040 Hyde Park LLC, Amount
      claimed: $79095.00

  97. Amended Claim #9 [ECF No. 9-3] filed
      by 1040 Hyde Park LLC, Amount
      claimed: $227914.00




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       Parkins Lee & Rubio reserves the right to supplement, amend or delete any witness and

exhibit prior to the hearing. Parkins Lee & Rubio also reserves the right to use any exhibit

presented by any other party and to ask the Court to take judicial notice of any document. Finally,

Parkins Lee & Rubio reserves the right to introduce exhibits previously admitted.

Dated: October 9, 2020

                                                     Respectfully submitted,

                                                     /s/ Charles M. Rubio
                                                     PARKINS LEE & RUBIO LLP
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                                                     Counsel to the Debtors




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